                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                            No. 22-CR-2019 CJW-MAR
 vs.                                                            ORDER
 HOUSTON SIMMONS, III,
                Defendant.
                                  ____________________
       This matter is before the Court on defendant’s Objections (Doc. 46) to the Report
and Recommendation (Doc. 45) of the Honorable Mark A. Roberts, United States
Magistrate Judge. On May 20, 2022, defendant filed a Motion to Suppress. (Doc. 35).
The government timely filed a resistance. (Doc. 38). Defendant timely filed a reply.
(Doc. 40). On June 10, 2022, Judge Roberts held a hearing on the motion. (Doc. 43).
On June 27, 2022, Judge Roberts issued his Report and Recommendation, which
recommends that the Court deny the Motion to Suppress. (Doc. 45). On July 11, 2022,
defendant timely filed his Objections. (Doc. 46). For the following reasons, the Court
overrules defendant’s Objections, adopts Judge Roberts’ Report and Recommendation,
and denies the Motion to Suppress.
                             I.    STANDARD OF REVIEW
       When a party files a timely objection to a magistrate judge’s report and
recommendation, a “judge of the court shall make a de novo determination of those
portions of the report or specified proposed findings or recommendation to which
objection is made.” 28 U.S.C. § 636(b)(1)(C); see also FED. R. CRIM. P. 59(b)(3) (“The
district judge must consider de novo any objection to the magistrate judge’s
recommendation.”); United States v. Lothridge, 324 F.3d 599, 600 (8th Cir. 2003) (“[A
district judge must] undertake[ ] a de novo review of the disputed portions of a magistrate




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judge’s report and recommendations”). “A judge of the court may accept, reject, or
modify, in whole or in part, the findings or recommendations made by the magistrate
judge.” 28 U.S.C. § 636(b)(1)(C); see also FED. R. CRIM. P. 59(b)(3) (“The district
judge may accept, reject, or modify the recommendation, receive further evidence, or
resubmit the matter to the magistrate judge with instructions.”). It is reversible error for
a district court to fail to engage in a de novo review of a magistrate judge’s report and
recommendation when such review is required.                 Lothridge, 324 F.3d at 600.
Accordingly, the Court reviews the disputed portions of the Report and Recommendation
de novo.
                            II.    FACTUAL BACKGROUND1
       On September 5, 2021, Waterloo Police Department (“WPD”) Officer Amira
Ehlers received a text from the owner of Flirt’s Gentlemen’s Club (“Flirt’s”) alerting her
that there were two men smoking and drinking in a vehicle in front of the club. (Doc.
47, at 2; Def. Ex. F). Officer Ehlers responded to the text by asking for a description
of the car but began to drive to Flirt’s before receiving a response. (Doc. 47, at 2, 7;
Def. Ex. F). She did not see the owner’s response until sometime after she spoke with
him. (Doc. 47, at 2).
       Officer Ehlers parked in the lane of traffic near Flirt’s entrance. On the passenger
side of her squad car and to its front, a blue sport utility vehicle (“SUV”) was parked at
the curb near Flirt’s entrance where the owner was standing. (Gov. Ex. 3). Officer
Ehlers activated her squad car’s amber warning lights, got out of her car, and spoke with
Flirt’s owner to find out which vehicle he was concerned about.              (Doc. 47, at 3;



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 After reviewing the Hearing Transcript (Doc. 47), the Court finds that Judge Roberts accurately
and thoroughly set forth the relevant facts in the Report and Recommendation. The Court thus
adopts Judge Roberts’ summary of the facts here. When relevant, the Court relies on and
discusses additional facts in conjunction with its legal analysis.


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Gov. Ex. 1 Ehlers’ BWC at 1:08:11). He pointed out a blue Kia sedan (“the Kia”).
(Doc. 47, at 3).
      Meanwhile, WPD Sergeant Spencer Gann responded to Officer Ehlers’ call for
assistance and began to drive to Flirt’s. (Gov. Ex. 2 Gann’s BWC at 1:07:23–1:07:30).
Upon arriving at Flirt’s, Sergeant Gann pulled up and parked in the lane of traffic behind
Officer Ehlers’ squad car. (Id. at 1:08:15-1:08:19). Along the passenger side of Sergeant
Gann’s squad car, the Kia was parked at the curb. (Gov. Ex. 3). Sergeant Gann got out
of his squad car and asked Officer Ehlers which vehicle they were approaching. (Doc.
47, at 9; Gov. Ex. 1 Ehlers’ BWC at 1:08:18). She informed him it was the Kia he was
parked next to. He replied, “This one here? Oh.” (Gov. Ex. 2 Gann BWC at 1:08:21–
1:08:24).
      In front of the Kia was an empty parking space along the curb, large enough to
accommodate another vehicle. (Gov. Ex. 3). In front of that empty space was the blue
SUV. (Id.). Officer Ehlers’ squad car was parked in the street adjacent to this space.
(Id.). In other words, directly to the side of her squad car was an empty parking space.
To the right rear side of her car was the Kia. Officer Ehlers’ squad car was parked in
relation to the blue SUV such that the Kia could not have pulled forward and out into the
street. The space behind the Kia was the open entrance of a driveway to a parking lot.
(Gov. Exs. 1 Ehlers’ BWC at 1:08:47-1:08:51; 2 Gann’s BWC at 1:08:25-1:08:35; 4;
5). Thus, the area immediately behind the Kia was open to the street and the driveway.
(Gov. Ex. 5). In other words, there were no cars parked immediately behind the Kia.
The parking lot entrance was immediately behind the Kia. In short, the cars were parked
in such a manner that the Kia could have backed up and then proceeded forward into the
street and past the parked squad cars, or could have backed into the driveway of the
parking lot and turned to drive in the opposite direction from the squad cars.




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      Defendant and the Kia’s driver were seated in the Kia when the police arrived.
(Gov. Ex. 1 Ehlers’ BWC at 1:08:11). Defendant was seated in the front passenger seat.
Officer Ehlers approached the Kia’s driver on the driver’s side and explained to him there
had been a complaint and informed him she smelled marijuana coming from his car.
(Gov. Ex. 1 Ehlers’ BWC at 1:08:34–1:09:02). She explained to the Kia’s driver that
“your entire car smells like there’s pounds of weed in it.” (Id. at 1:09:42.) She ordered
him out of the car and searched him. (Id. at 1:10:39-1:11:00). She then searched the
vehicle. (Id. at 1:11:45–1:13:48). At the same time, Sergeant Gann went around the
back of his squad car and the back of the Kia to stand at its passenger door. (Gov. Ex.
2 Gann’s BWC at 1:08:25–1:08:35). Once Officer Ehlers decided to do a search,
Sergeant Gann ordered defendant out of the vehicle and searched him. (Id. at 1:11:06–
1:11-35). He observed defendant and the Kia’s driver while Officer Ehlers searched the
vehicle. (Id. at 1:11:48–1:13:59). The search uncovered marijuana, U.S. currency, a
Taurus G2C9mm semi-automatic handgun, a burnt marijuana roach, a vacuum sealer, a
vacuum sealer bag containing marijuana, documents regarding defendant, defendant’s
three cell phones, and money on defendant’s person. (Docs. 47, at 5; 35-2 at 1–2).
Defendant and the Kia’s driver were placed under arrest.
                                   III.   ANALYSIS
      In the Motion to Suppress, defendant argues that the officers seized the Kia and
defendant, who was a passenger in the Kia, “when officers used their marked squad cars
to block in the Kia . . . before officers had reasonable suspicion or probable cause to
seize” defendant or the Kia. (Doc. 35, at 1; see also Doc. 35-2 (inventory)).
      In his Report and Recommendation, Judge Roberts recommended that the Court
deny defendant’s motion. (Doc. 45). Judge Roberts found the officers did not block in
the Kia with their cars and neither defendant nor the Kia was seized by the way the
officers parked their cars. (Id., at 7-10). Judge Roberts also found the officers did not



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park their cars with the intent to seize the Kia because neither Officer Ehlers nor Sergeant
Gann knew which vehicle outside Flirt’s was the one at issue. (Id., at 10–13). Finally,
Judge Roberts found a reasonable person in the position of either the Kia’s driver or
defendant, the Kia’s passenger, would have felt they were free to leave. (Id., at 13–15).
       Defendant objects to four conclusions in Judge Roberts’ Report and
Recommendation: (1) that the Kia in which defendant was a passenger was not blocked
in after Sergeant Gann parked his squad car; (2) that the Kia and defendant were not
seized when Officer Ehlers and Sergeant Gann parked their squad cars near the Kia; (3)
that it is legally relevant that the officers intended to seize the Kia and defendant, as
opposed to merely actually seizing both; and (4) that a reasonable person in the position
of either the Kia’s driver or defendant would have felt free to leave. (Doc. 46). The
Court addresses each objection in turn.
       A.      The Position of the Vehicles
       Defendant argues the squad cars blocked the Kia in such a way that the car could
not readily leave the scene. (Doc. 46-1, at 1–2). Specifically, defendant points to a
vehicle parked in front of the Kia, Officer Ehlers’ car next to the Kia, and Sergeant
Gann’s car behind the Kia.2 (Id.).
       Viewing the officers’ body-worn camera footage and photographic evidence
offered by the government, Judge Roberts found the Kia was not blocked in because it
had room to back up and leave, either by “back[ing] straight along the curb or into the


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  Defendant also implies that the nature of the stop adds to the determination of whether the Kia
was blocked in. (See Doc. 46-1, at 2). Specifically, defendant notes “[b]oth officers were in
marked police cars, in uniform, and armed” and “[a]t least Officer Ehlers had flashing lights
on.” (Id.). Defendant argues the difference between amber flashing lights used by Officer
Ehlers and other types of lights used by police is irrelevant because there is no evidence defendant
or the Kia’s driver knew what lights indicated what kind of stop. (Id.). The Court does not find
these facts relevant to determine whether the Kia was blocked in.



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adjoining driveway.”      (Doc. 45, at 7–8).      The Court agrees with Judge Roberts’
conclusion. Although the officers’ cars were close to the Kia, they were not so close that
the Kia could not leave. (Gov’t Exs. 1 Ehlers’ BWC at 1:08:47–1:08:51; 2 Gann’s BWC
at 1:08:25–1:08:35; 4; 5). Thus, the Court finds the Kia was not blocked in.
       Accordingly, defendant’s objection is overruled.
       B.     Whether Defendant was Seized by the Officers’ Cars
       Defendant argues that because the Kia was blocked in by the officers, the Kia and
defendant were seized. (Doc. 46-1, at 2–3). In support, defendant cites several cases
concluding that a seizure occurs “when an officer uses their squad car to block the vehicle
and prevent the occupants from leaving the scene.” (Id.).
       Having found the Kia was not blocked in, Judge Roberts “conclude[d] that the
officers did not seize the Kia by the placement of their vehicles.”3 (Doc. 45, at 8).
Because the Court has already found the Kia was not blocked in, the Court also finds
officers did not seize the Kia and defendant by blocking the car in.
       Accordingly, defendant’s objection is overruled.
       C.     The Relevance of the Officers’ Subjective Intent

       Citing Brower v. County of Inyo, 489 U.S. 593 (1989), defendant argues officers
seized defendant by the means they intentionally applied—that is, they seized defendant
by intentionally parking their squad cars in a way that blocked in the Kia, and thus
defendant. (Doc. 46-1, at 3–7). But, defendant argues there is no requirement of “proof
that Officer Ehlers and Sergeant Gann intended to specifically seize [defendant.]” (Id.,
at 5 (citing Brower, 489 U.S. at 596 (“[A] seizure occurs even when an unintended person



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  Judge Roberts found no seizure occurred prior to Officer Ehlers detecting the smell of
marijuana. (Doc. 45, at 8–10). Defendant, however, specifically bases his objections on the
manner in which the officers parked their cars and allegedly blocked in the Kia. (Doc. 46-1, at
3–7).


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or thing is the object of the detention or taking.”)). Instead, defendant argues, the
relevant question is whether the officer intended to apply the means of a seizure, not
whether the officer intended to seize the person in question.         (Id.).   Accordingly,
defendant asserts the officers seized defendant by control—not force. (Id., at 5–6). As
such, defendant argues Torres v. Madrid, 141 S. Ct. 989 (2021), a seizure by force case,
did not limit the holding of Brower, a seizure by control case, as Judge Roberts so
interpreted it. (Doc. 46-1, at 5–6; Doc. 45, at 10–13).
       Judge Roberts reached the question of whether the means the officers’ intentionally
applied constituted a seizure of defendant in the event the Court disagreed with his finding
that no seizure occurred because the Kia was not blocked in. (Doc. 45, at 10). In other
words, it was an alternative finding by Judge Roberts. The question of whether the
officers seized defendant by means they intentionally applied is only relevant if the Court
first finds defendant was seized. Here, the Court has already found defendant was not
seized by the manner in which the officers’ cars were parked. Thus, the Court does not
reach this argument.
       Accordingly, defendant’s objection is overruled.
       D.     Whether a Reasonable Person Would Have Felt Free to Leave
       Citing Baude v. Leyshock, 23 F. 4th 1065, 1071 (8th Cir. 2002), defendant argues
a reasonable person in the position of either defendant or the Kia’s driver would not have
felt free to leave. (Doc. 46-1, at 7–8). In support, defendant cites five circumstances:
(1) the way the officers parked their squad cars; (2) the officers arrived in marked squad
cars identifying them as police; (3) at least one squad car had its flashing amber lights
activated; (4) the officers were in full uniform; and (5) the officers were armed. (Id.).
       In his Report and Recommendation, Judge Roberts found a reasonable person in
the position of either defendant or the Kia’s driver would have felt free to leave. (Doc.
45, at 13–15).    First, Judge Roberts reasoned “without more, the mere arrival of



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uniformed and armed police to a location in marked vehicles does not indicate to a
reasonable person that he is detained.” (Id., at 13). Second, he explained “amber lights
activated to warn traffic of an obstacle in the road do not signal a detention,” (id.), and
found only Officer Ehlers’ squad car’s amber lights were activated. (Id., at 13 n.1).
Third, viewing the officers’ body camera footage and citing their testimony, Judge
Roberts found the officers “used no show of force or intimidating movements, brandished
no weapons, blocked only the vehicle’s path forward, and made no threats or commands
when parking or exiting their vehicles.” (Id., at 13–14). In this analysis, Judge Roberts
relied on the Eighth Circuit Court of Appeals’ recent opinion in United States v. Lillich,
6 F. 4th 869 (8th Cir. 2021), and the Supreme Court’s opinion in United States v.
Drayton, 536 U.S. 194 (2002).4 (Id., at 14–15). Comparing defendant’s position to the
defendant’s position in Lillich, Judge Roberts reasoned that defendant “could have opened
the passenger door where he was seated, which was in no way obstructed, and simply
walked away,” or that the Kia’s driver could have backed up and drove away. (Id.).
         Here, the Court agrees with Judge Roberts’ finding that a reasonable person would
have felt free to leave between the officers’ arrival at Flirt’s and when Officer Ehlers and
Sergeant Gann approached the Kia to speak with defendant and the Kia’s driver.5
         “[A] person has been ‘seized’ within the meaning of the Fourth Amendment only
if, in view of all of the circumstances surrounding the incident, a reasonable person would
have believed that he was not free to leave.” Lillich, 6 F. 4th at 875 (quoting United
States v. Mendenhall, 446 U.S. 544, 554 (1980)). As the Eighth Circuit described in



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    Defendant does not address Lillich or Drayton in his objections.
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  The Court agrees with Judge Roberts’ finding that although the time between these two events
is short and would require defendant to make a quick decision, that fact does not create a seizure
here. (See Doc. 45, at 8–9). Further, this short time frame does not affect the analysis of
whether a reasonable person would have felt free to leave within that time.


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Lillich, several factors inform the analysis of whether a reasonable person would feel free
to leave under the circumstances. Id. at 876. Those factors include:
       officers positioning themselves in a way to limit the person’s freedom of
       movement, the presence of several officers, the display of weapons by
       officers, physical touching, the use of language or intonation indicating
       compliance is necessary, the officer’s retention of the person’s property,
       [and] an officer’s indication the person is the focus of a particular
       investigation.

Id. (quoting United States v. Griffith, 533 F.3d 979, 983 (8th Cir. 2008)). Additionally,
there is no seizure when there is “no application of force, no intimidating movement, no
overwhelming show of force, no brandishing of weapons, no blocking of exits, no threat,
no command, not even an authoritative tone of voice” to indicate the encounter was
coercive or confrontational. Drayton, 536 U.S., at 204.
       Considering the Lillich factors and the circumstances cited by defendant, the Court
finds a reasonable person in the position of defendant or the Kia’s driver would have felt
free to leave.
       The Court gives little weight to the officers’ positioning. Because the Court finds
the Kia was not blocked in, defendant’s reliance on Baude is inapposite. In Baude, the
Court found the plaintiff had alleged sufficient facts to indicate his seizure was
unreasonable because he had shown that police “encircled all individuals in the area,”
even though some were compliant or even unrelated to the ongoing protests officers were
purportedly trying to quell. 23 F. 4th at 1071. Further, “[o]fficers refused to allow
anyone to leave voluntarily.” Id. Here, as the Court has found, the manner in which
officers parked their cars did not prevent the Kia’s movement or defendant’s movement,
though it may have limited the vehicle’s forward movement. As the court found in
Lillich, limiting movement is not enough to effectuate a seizure. See 6 F. 4th at 876.
Further, because no one tried to leave, officers did not refuse to allow the Kia’s driver



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to move the vehicle or refuse to allow defendant to leave the vehicle. Indeed, when
parking and getting out of their vehicles, officers made no commands to defendant or the
Kia’s driver.
      The Court also gives little weight to the fact that officers arrived in marked squad
cars and wore full uniforms. “Officers are often required to wear uniforms.” Drayton,
536 U.S. at 204. Officers on patrol, as Officer Ehlers and Sergeant Gann were here, are
also generally required to drive marked squad cars. If the Court were to give these
circumstances significant weight, then any encounter between an identifiable officer and
the public could be coercive.
      Likewise, the Court gives little weight to the fact that the officers were armed.
“That most law enforcement officers are armed is a fact well known to the public. The
presence of a holstered firearm thus is unlikely to contribute to the coerciveness of the
encounter absent active brandishing of the weapon.” Id. at 205. Here, neither officer
brandished a weapon. When on duty, officers typically have on their person a service
weapon. Again, if the Court were to give this circumstance significant weight, then any
interaction between an armed officer and the public could be coercive.
      The Court gives more, but not much, weight to defendant’s argument that at least
one squad car had its flashing amber lights activated. Judge Roberts found only Officer
Ehlers’ car had its flashing amber lights activated; Sergeant Gann’s did not. (See Doc.
45, at 13). Reviewing the evidence, the Court agrees. (Gov. Exs. 1 Ehlers’ BWC
1:08:12–1:08:16; 2 Gann’s BWC 1:08:16–1:08:24). At the suppression hearing, Officer
Ehlers testified that the flashing amber lights were a traffic warning device. (Doc. 47,
at 3). Judge Roberts found “these lights differ significantly from red and blue flashing
lights officers use when they are in pursuit or are attempting to effect a traffic stop.”
(Doc. 45, at 13 n.1). Given that the Kia was already stopped, however, a reasonable
person in defendant’s position might not know the difference between the light colors and



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their relative significance. Still, the Eighth Circuit has upheld a district court finding that
a defendant was not seized when an officer “pulled his vehicle behind [the appellants’]
parked car and activated his amber warning lights” under circumstances analogous to
those here. See United States v. Dockter, 58 F.3d 1284, 1287 (8th Cir. 1995) (officer
“did not block the appellants’ vehicle or in any manner preclude them from leaving, he
did not draw his weapon, and his tone of voice was inquisitive rather than coercive,”
though he was the only officer on scene).
       The Court gives little weight to the remaining factors. See Lillich, 6 F. 4th at 876.
Only two officers were present and one, Officer Ehlers, had walked away from the Kia
to speak with the proprietor of Flirt’s. It is undisputed that neither officer physically
touched defendant or even spoke to him at this point. Likewise, neither officer indicated
to defendant that he was the focus of a particular investigation. Finally, neither officer
retained defendant’s property. In sum, there is nothing to indicate that the officers acted
in a way that was coercive or confrontational. See Drayton, 536 U.S., at 204.
       Viewing these circumstances collectively, the Court finds that a reasonable person
in the position of either defendant or the Kia’s driver would have believed he was free to
leave before Officer Ehlers approached the Kia. See Lillich, 6 F. 4th at 875. Confusion
or lack of knowledge about the lights activated on Officer Ehlers’ squad car is minimal
considering the many other factors that weigh in favor of this finding.
       Accordingly, defendant’s objection is overruled.




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                               IV.    CONCLUSION
      For the reasons set forth above, defendant’s Objections (Doc. 46) are overruled,
Judge Roberts’ Report and Recommendation (Doc. 45) is adopted, and defendant’s
Motion to Suppress (Doc. 35) is denied.
      IT IS SO ORDERED this 15th day of August, 2022.


                                          _________________________________
                                          C.J. Williams
                                          United States District Judge
                                          Northern District of Iowa




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